     Case 3:16-cv-02627-WHA Document 399 Filed 09/12/18 Page 1 of 18



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14

15

16
                                 UNITED STATES DISTRICT COURT
17
                             NORTHERN DISTRICT OF CALIFORNIA
18
     In Re LENDINGCLUB SECURITIES                  No. 3:16-cv-02627-WHA
19   LITIGATION
                                                   CLASS ACTION
20   This Document Relates To:                     STATE LEAD COUNSEL’S
21                                                 RESPONSE TO REQUEST FOR
            ALL ACTIONS.                           INFORMATION RE ATTORNEY’S
22                                                 FEES
23

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                                STATE LEAD COUNSEL’S RESPONSE TO
                            REQUEST FOR INFORMATION RE ATTORNEY’S FEES
                                      Case No. 3:16-cv-02627-WHA
     Case 3:16-cv-02627-WHA Document 399 Filed 09/12/18 Page 2 of 18



 1
                                                  TABLE OF CONTENTS
 2
        I.     JUSTIFICATION FOR THE AMOUNT OF TIME SPENT ON CLASS NOTICE
 3             (PROJECT NO. 18) ........................................................................................................ 1
 4      II.    JUSTIFICATION FOR THE AMOUNT OF TIME SPENT ON THE MOTION TO
               INTERVENE AND OPPOSITION TO THE MOTION TO ENJOIN AND FURTHER
 5             JUSTIFICATION FOR WHY CLASS MEMBERS SHOULD BEAR THE COST OF
               THE FIGHT AMONG COUNSEL AS TO WHO SHOULD LEAD
 6             THE LITIGATION (PROJECT NO. 19) ....................................................................... 3
 7      III. JUSTIFICATION FOR THE AMOUNT OF TIME SPENT ON THE SECOND
             SETTLEMENT CONFERENCE (PROJECT NO. 23) .................................................. 7
 8
        IV. SCOTT+SCOTT SHALL JUSTIFY THE AMOUNT OF TIME SPENT ON THE
 9          SECOND-LEVEL DISCOVERY TASKS (PROJECT NO. 10) ................................... 8
10      V.     SCOTT+SCOTT SHALL JUSTIFY THE TIME SPENT ON THE WELLS FARGO
               DEPOSITION, GIVEN THAT THEY DID NOT ATTEND THE DEPOSITION
11             (PROJECT NO. 21) ...................................................................................................... 10
12      VI. SCOTT+SCOTT SHALL JUSTIFY THE AMOUNT OF TIME SPENT ON THE
            SETTLEMENT AGREEMENT AND PLAN OF ALLOCATION
13          (PROJECT NO. 24) ...................................................................................................... 11 
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28                                                                   i
                                       STATE LEAD COUNSEL’S RESPONSE TO
                                   REQUEST FOR INFORMATION RE ATTORNEY’S FEES
                                             Case No. 3:16-cv-02627-WHA
     Case 3:16-cv-02627-WHA Document 399 Filed 09/12/18 Page 3 of 18



 1

 2                                                  TABLE OF AUTHORITIES

 3                                                                                                                                    Page(s)
 4   Cases
 5   Desmarais v. Johnson,
 6      No. C 13-03668-WHA, 2013 WL 5735154 (N.D. Cal. Oct. 22, 2013) ...................................5

 7   Statutes, Rules, and Regulations

 8   California Code of Civil Procedure
        §2520.230 ...........................................................................................................................9, 10
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                                            STATE LEAD COUNSEL’S RESPONSE TO
                                        REQUEST FOR INFORMATION RE ATTORNEY’S FEES
                                                  Case No. 3:16-cv-02627-WHA
     Case 3:16-cv-02627-WHA Document 399 Filed 09/12/18 Page 4 of 18



 1          In response to the Court’s September 5, 2018 Request for Information re Attorney’s Fees

 2   (ECF No. 397), State Lead Counsel (comprised of the firms of Scott+Scott Attorneys at Law

 3   LLP and Cotchett, Pitre & McCarthy, LLP) respectfully state the following:

 4   I.     JUSTIFICATION FOR THE AMOUNT OF TIME SPENT ON CLASS NOTICE
            (PROJECT NO. 18)
 5
            State Lead Counsel spent 299.60 hours of attorney and paralegal time, amounting to
 6
     $208,534.50 of lodestar,1 related to class notice. The work was substantial as it spanned three
 7
     different time periods, including the negotiation and approval of class notice by the State Court
 8
     following its order granting class certification in June 2017, the negotiation and approval by both
 9
     the State Court and Federal Court of a joint notice to shareholders following the Federal Court’s
10
     order granting class certification in October 2017 (an effort largely driven by State Lead Counsel
11
     as the most effective and efficient manner to notify Class members in both actions), and the
12
     negotiation and approval, again by both the State Court and Federal Court in February and
13
     March 2018, of the notice of settlement, including approval of related proof of claim forms,
14
     distributed to Class members.
15
            Initial class notice in State Court: In April 2017, after resolution of demurrers and
16
     extensive fact and class discovery, the State Plaintiffs moved for class certification. On June 23,
17
     2017, the State Court certified a 1933 Act Class consisting of investors who purchased Lending
18
     Club common shares pursuant or traceable to the Offering Materials. Pursuant to California
19
     rules governing notice, State Lead Counsel and Defendants then engaged in substantial
20
     negotiations regarding the forms of proposed Notice and Summary Notice, as well as the
21
     contours of the accompanying Notice Plan for disseminating these notices. During this process,
22
     State Lead Counsel also researched and addressed issues with LendingClub relating to modifying
23
     the proposed Class Period based on new information regarding the date when post-IPO shares
24
     entered the market (which affected the length of the period when investors could “trace” their
25

26   1
            Of this total, State Lead Counsel effectively seek compensation for only $89,669.84, after
     applying the 43% lodestar haircut that is imbedded across all aspects of State Lead Counsel’s fee
27   application. See Supplemental Declaration of John T. Jasnoch in Support of Award of
     Attorneys’ Fees, ¶42.
28                                                    1
                                 STATE LEAD COUNSEL’S RESPONSE TO
                             REQUEST FOR INFORMATION RE ATTORNEY’S FEES
                                       Case No. 3:16-cv-02627-WHA
     Case 3:16-cv-02627-WHA Document 399 Filed 09/12/18 Page 5 of 18



 1   shares to the IPO as required by §11 of the 1933 Act), and the resulting need for further

 2   modifications to the forms of Notice (which, in turn, also had to be approved by the State Court).

 3   These efforts caused the process of finalizing the Notice Plan to extend to mid-September 2017,

 4   with the resulting stipulated notice plan being submitted to and adopted by the State Court on

 5   September 21, 2017.

 6          Joint notice in Federal and State Courts: In September 2017, as State Lead Counsel

 7   prepared to distribute the Notice and Summary Notice pursuant to the State Court’s directions,

 8   Federal Plaintiff moved forward with its own motion for class certification in Federal Court.

 9   Given the potential overlap of claims and risk of confusing Class members, State Lead Counsel

10   proposed a modest delay in mailing the notice pending resolution of the separate class

11   certification proceedings in the Federal Court (and pending resolution of State Plaintiffs’ limited

12   objection to class certification in the Federal Court to the extent the proposed Federal Class did

13   not carve out the 1933 Act claims that had already been certified by State Court). ECF No. 221.

14   After this Court certified a Federal Class, see ECF No. 252, this Court understandably directed

15   all parties in the State and Federal Actions to jointly agree upon a revised form of notice for

16   approval by both it and the State Court. Id. at 27-28.

17          State Lead Counsel led the effort to prepare the “Joint Notice,” which required drafting

18   language to address the relatively novel situation of creating a clear and effective Notice that

19   would “work” for noticing two separate actions where both Actions overlapped in part, but (a)

20   the Federal Action was broader in some respects than the State Action, and (b) the State Action

21   was broader in certain other respects than the Federal Action. State Lead Counsel also drove the

22   process of obtaining the State Court’s approval of the revised “Joint Notice” and the related

23   modifications to the Notice Plan that the State Court had already approved. State Lead Counsel

24   were also unable to reach agreement with the Federal Plaintiff on the latter’s request to delay the

25   issuance of the Joint Notice by a further six to eight months. Both Courts ultimately approved

26   State Lead Counsel’s proposed joint Notice Plan with certain minor revisions, although the

27   original deadlines for dissemination of the Notice under State Lead Counsel’s plan were

28                                                    2
                                  STATE LEAD COUNSEL’S RESPONSE TO
                              REQUEST FOR INFORMATION RE ATTORNEY’S FEES
                                        Case No. 3:16-cv-02627-WHA
     Case 3:16-cv-02627-WHA Document 399 Filed 09/12/18 Page 6 of 18



 1   ultimately deferred by mutual agreement once progress began to be made on settlement. ECF

 2   Nos. 259 and 266.

 3          Preparation of the further revised Notice in the wake of the global Settlement: As

 4   noted above, the planned dissemination of the Joint Notice was deferred as settlement

 5   discussions began.    Thereafter, once the global settlement was reached, it was obviously

 6   necessary to engage in yet another, and even more fundamental, restructuring and redrafting of

 7   the prior forms of notice in order to give notice not only of class certification, but of the

 8   proposed global Settlement. Once again, the objective of having a single Joint Settlement Notice

 9   – as part of all counsels’ agreement to enter into a single Stipulation of Settlement with a single

10   settlement administration process to be supervised by this Court (consistent with certain

11   California state law notice requirements) – was ultimately to reduce overall administrative costs,

12   minimize Class member confusion, and otherwise maximize opportunities for efficiency.

13          Accordingly, from February through March 2018, State Lead Counsel spent significant

14   time coordinating with Federal Lead Counsel (and Defendants) regarding the drafting of new

15   forms of notice to provide appropriate and clear disclosure of the material terms of the global

16   Settlement and proposed Plan of Allocation, and to prepare similarly appropriate and clear forms

17   of the Proof of Claim for Class members to fill out. This process also ultimately required State

18   Lead Counsel to obtain its approval of the revised forms of notice.

19   II.    JUSTIFICATION FOR THE AMOUNT OF TIME SPENT ON THE MOTION TO
            INTERVENE AND OPPOSITION TO THE MOTION TO ENJOIN AND
20          FURTHER JUSTIFICATION FOR WHY CLASS MEMBERS SHOULD BEAR
            THE COST OF THE FIGHT AMONG COUNSEL AS TO WHO SHOULD LEAD
21          THE LITIGATION (PROJECT NO. 19)

22          State Lead Counsel collectively spent 509.95 hours on tasks related to the motion to

23   intervene and the opposition to the motion to enjoin, which approximated $381,956.75 in

24   lodestar2.

25

26   2
            Of this amount, State Lead Counsel effectively seek compensation for only $164,241.40,
     after applying the 43% lodestar haircut that is imbedded across all aspects of State Lead
27   Counsel’s fee application. See Supplemental Declaration of John T. Jasnoch in Support of
     Award of Attorneys’ Fees, ¶42.
28                                                 3
                                 STATE LEAD COUNSEL’S RESPONSE TO
                             REQUEST FOR INFORMATION RE ATTORNEY’S FEES
                                       Case No. 3:16-cv-02627-WHA
     Case 3:16-cv-02627-WHA Document 399 Filed 09/12/18 Page 7 of 18



 1          As previously noted, the State Court certified a broad 1933 Act class in June 2016, and

 2   appointed State Lead Counsel as Class Counsel – thereby imposing on State Lead Counsel a

 3   fiduciary duty to maximize the recovery of LendingClub shareholders with 1933 Act claims (the

 4   “1933 Act Claimants”). After reviewing the Federal Plaintiff’s certification motion, State Lead

 5   Counsel were immediately concerned that the interests of the 1933 Act Claimants (whose

 6   interests have always been the exclusive concern of State Lead Counsel in accord with the State

 7   Court’s class certification order) would not be capable of being as well-protected in the federal

 8   forum (compared to the State Court). The basis for State Lead Counsel’s concern was that: (1)

 9   this Court had dismissed – and Federal Plaintiff had thereafter chosen not to replead – certain

10   important theories of 1933 Act liability that, by contrast, State Plaintiffs and their counsel had

11   successfully navigated past dismissal and were thus being pursued only in the State Action; and

12   that (2) as a result, the Federal Plaintiff (unlike State Plaintiffs) would not be able to obtain a

13   judgment on behalf of 1933 Act Claimants that would recover any of the substantial additional

14   losses (estimated by State Lead Plaintiffs at $200 million (ECF No. 221-2, ¶16)) that 1933 Act

15   Claimants based on the 1933 Act theories that had been dismissed from the Federal Action (but

16   had been sustained in the State Action). For example, absent the additional liability theories that

17   State Lead Counsel had preserved, a large swath of 1933 Act Claimants who sold their

18   LendingClub shares at an already substantial loss prior to May 9, 2016 (the first corrective

19   disclosure date alleged in the Federal Action) would have had no colorable theory of recovery

20   for any of their losses prior to that date – and those who sold later would not have had the

21   benefit of additional damages attributable to the multiple pre-May 2016 stock declines that were

22   only at issue in the State Action.

23          Similarly, assuming that the more limited 1933 Act claims in the Federal Action were

24   certified and that the Federal Plaintiff thereafter sought to settle all Class members’ potential

25   1933 Act claims, State Lead Counsel were very concerned that the Federal Plaintiff (compared to

26   State Plaintiffs) would be in the sub-optimal position in any negotiations of trying settle all 1933

27   Act claims for full value, given that the Federal Plaintiff was itself unable to even threaten to

28                                                    4
                                  STATE LEAD COUNSEL’S RESPONSE TO
                              REQUEST FOR INFORMATION RE ATTORNEY’S FEES
                                        Case No. 3:16-cv-02627-WHA
     Case 3:16-cv-02627-WHA Document 399 Filed 09/12/18 Page 8 of 18



 1   litigate a large and valuable chunk of the 1933 Act claims that had survived only in the State

 2   Action. See Desmarais v. Johnson, No. C 13-03668-WHA, 2013 WL 5735154, at *5 (N.D. Cal.

 3   Oct. 22, 2013) (raising questions regarding the scope of possible class-wide releases that might

 4   be given for claims that were not actually being pursued in litigation, and noting that absent class

 5   members might be litigating “with one arm tied behind their backs” with respect to claims that

 6   they were not actually litigating, while then being asked to include a release of such claims as

 7   part of a settlement “as if no restraint had been imposed”). State Plaintiffs’ motion to intervene

 8   for the limited purpose of objecting to certification of a Class in this Action that included 1933

 9   Act claims (as opposed to only 1934 Act claims) therefore sought to protect the interests of the

10   class of 1933 Act Claimants by ensuring that those claims would be litigated only in the State

11   Court.

12            Although this Court ultimately rejected State Plaintiffs’ argument that the State Court

13   was the “superior” forum for litigating the 1933 Act claims (and declined to carve out those

14   claims from the scope of the certified class in this Action), the Court nonetheless granted State

15   Plaintiffs’ motion to intervene and took other steps – such as directing that State Plaintiffs be

16   included in global mediation and settlement talks – to insure that the interests of all 1933 Act

17   Claimants would be fully protected. As discussed below, allowing State Plaintiffs to intervene

18   did indeed result in substantial benefits for the 1933 Act Claimants.

19            The amount of time State Lead Counsel spent on this litigation project was reasonable

20   and ultimately inured to the benefit of the settlement class, and included:

21                  comprehensively researching the applicable law;
22                  working closely with their financial economist and damages consultant, Dr. Scott
                     Hakala, Ph.D, to analyze the extent to which the value of the 1933 Act claims at
23                   issue in the State Action materially exceeded the value of the more limited 1933
                     Act claims that survived dismissal in the Federal Action;
24
                    working with Dr. Hakala to prepare an expert declaration in support of the limited
25                   objection (ECF No. 221-2);

26                  preparing a detailed brief in support of intervention and the limited objection
                     (ECF No. 221);
27

28                                                    5
                                  STATE LEAD COUNSEL’S RESPONSE TO
                              REQUEST FOR INFORMATION RE ATTORNEY’S FEES
                                        Case No. 3:16-cv-02627-WHA
     Case 3:16-cv-02627-WHA Document 399 Filed 09/12/18 Page 9 of 18



 1                 producing documents from Dr. Hakala pursuant to a subpoena issued by the
                    Federal Lead Plaintiff in connection with the Motion;
 2
                   conferring extensively with the Federal Lead Counsel concerning the subpoenas
 3                  that Federal Plaintiff served on the State Class Representatives in connection with
                    the Motion;
 4
                   opposing the counter-Motion to Enjoin State Proceedings filed by the Federal
 5                  Plaintiff (ECF No. 240-1); and

 6                 preparing for, and presenting argument at, the hearing on class certification and
                    the motion to intervene before the federal Court. (See ECF No. 247).
 7
            The work that State Lead Counsel performed in connection with the limited objection
 8
     proved to be extremely valuable to State Lead Counsel’s work later in the case to protect the
 9
     interests of 1933 Act Claimants. For example, through the limited objection, much of the expert
10
     analysis and support with respect to damages suffered by the 1933 Act Claimants (and related
11
     issues of negative loss causation) that State Lead Counsel would have had to conduct anyway
12
     (albeit later in the case in the context of settlement or litigation) was completed during the work
13
     on the motion to intervene and the limited objection. See Declaration of Scott D. Hakala, Ph.D.,
14
     CFA in Support of State Action Class Representatives’ and [Proposed] Intervenors’ Limited
15
     Objection to Lead Plaintiff’s Motion for Class Certification, ECF No. 221-2, ¶¶8-18 (describing
16
     the results of the event study conducted with respect to the State Action).
17
            Furthermore, while granting the Federal Plaintiff’s class certification motion, the Court’s
18
     certification Order also specifically provided for the State Class Representatives and State Lead
19
     Counsel to participate in a global settlement process under the auspices of Judge Spero. It is
20
     respectfully submitted that the work performed by State Lead Counsel and Dr. Hakala in
21
     connection with the limited objection was instrumental to State Lead Counsel’s contribution at
22
     the settlement conferences. Based on the same analysis presented in the context of their limited
23
     objection, State Lead Counsel was able to show that there were valuable additional theories of
24
     recovery that were being pursued only in the State Action and that represented substantial added
25
     value for the Class above and beyond what was at issue in the Federal Action. It is respectfully
26
     submitted that this work not only materially increased the value of the resulting global
27

28                                                    6
                                  STATE LEAD COUNSEL’S RESPONSE TO
                              REQUEST FOR INFORMATION RE ATTORNEY’S FEES
                                        Case No. 3:16-cv-02627-WHA
     Case 3:16-cv-02627-WHA Document 399 Filed 09/12/18 Page 10 of 18



 1   settlement, but was also the basis for ensuring that all 1933 Act claimants would have their

 2   claims treated fairly and appropriately under the Plan of Allocation.3

 3   III.   JUSTIFICATION FOR THE AMOUNT OF TIME SPENT ON THE SECOND
            SETTLEMENT CONFERENCE (PROJECT NO. 23)
 4
            State Lead Counsel collectively spent approximately 217.6 hours in connection with the
 5
     second settlement conference, which approximated $164,137 in lodestar.4 From the time that the
 6
     parties agreed to enter mediation in December 2017, to the service of the notification that a
 7
     second settlement conference had been scheduled (December 29, 2017, ECF No. 311), and
 8
     through to the parties’ responses to Judge Spero’s mediator’s proposal on February 5, 2018, State
 9
     Lead Counsel worked tirelessly to advocate for the interests of the 1933 Act class in any
10
     potential settlement or resolution. These efforts included:
11
                   the preparation of a detailed mediation statement pursuant to the scheduling of a
12                  private mediation and later pursuant to Judge Spero’s December 29, 2018 Order;

13                 the review and careful consideration of Defendants’ mediation statement and
                    exhibits;
14
                   the review and careful consideration of the Federal Lead Plaintiff’s mediation
15                  statement and exhibits;

16                 the preparation of a detailed settlement conference reply statement, which was
                    requested by Judge Spero on January 25, 2018 following the service of the
17                  opening settlement conference statements, and which was served on Judge Spero
                    and on all parties on January 27, 2018;
18
                   the review and careful consideration of the other parties’ settlement conference
19                  reply statements;

20                 preparation of rebuttal points for arguments made by Defendants in their
                    settlement conference statements;
21

22
     3
             For example, as a result of State Lead Counsel’s efforts in this latter regard, under the
23   final Plan of Allocation approved by the Court, State Lead Counsel were able to ensure that 1933
     Act Claimants would be able to obtain recoveries on losses associated with multiple pre-May
24   2016 disclosures by LendingClub – losses that were only logically recoverable based on the 1933
     Act theories of the case that were being pursued and litigated only by State Plaintiffs and their
25   counsel.
26   4
             Of this amount, State Lead Counsel effectively seek compensation for only $70,578.91,
     after applying the 43% lodestar multiplier that is imbedded across all aspects of State Lead
27   Counsel’s fee application. See Supplemental Declaration of John T. Jasnoch in Support of
     Award of Attorneys’ Fees, ¶42.
28                                                 7
                                  STATE LEAD COUNSEL’S RESPONSE TO
                              REQUEST FOR INFORMATION RE ATTORNEY’S FEES
                                        Case No. 3:16-cv-02627-WHA
     Case 3:16-cv-02627-WHA Document 399 Filed 09/12/18 Page 11 of 18



 1                 review of hot documents and other discovery materials for use during the
                    Settlement Conference should the need arise;
 2
                   conferences with Dr. Hakala concerning potential recoverable damages;
 3
                   preparation for the settlement conference;
 4
                   an all-day session with Judge Spero that lasted well into the evening on January
 5                  29, 2018;

 6                 post-conference conferring amongst counsel regarding Judge Spero’s mediator’s
                    proposal; and
 7
                   conferring with the State Representatives concerning the acceptance of the
 8                  mediator’s proposal for a $125 million global settlement.

 9          State Lead Counsel respectfully submits that the approximately 217.6 hours that were

10   spent in connection with the second settlement conference were necessary for the effective

11   representation and maximizing the recovery of the 1933 Act class members that State Lead

12   Counsel had a fiduciary duty to represent.

13   IV.    SCOTT+SCOTT SHALL JUSTIFY THE AMOUNT OF TIME SPENT ON THE
            SECOND-LEVEL DISCOVERY TASKS (PROJECT NO. 10)
14
            Scott+Scott attorneys spent approximately 882.3 hours in connection with second-level
15
     discovery tasks, which approximated $358,292.50 in lodestar.5
16
            Several essential tasks that were performed in connection with this litigation were labeled
17
     as second-level discovery projects in connection with State Lead Counsel’s further submissions
18
     in support of the award of attorneys’ fees. Scott+Scott respectfully submits that such tasks were
19
     necessarily undertaken in order for the State Plaintiffs to effectively prepare for the close of fact
20
     discovery and expert discovery, as well as to overcome any motion for summary adjudication
21
     filed by Defendants and to win at trial.
22
            As described in the Joint Declaration of William C. Fredericks and Mark Molumphy in
23
     Support of Final Approval of Settlement and for Award of Attorneys’ Fees and Expenses (ECF
24

25
     5
             Of this amount, State Lead Counsel effectively seek compensation for only $154,065.78,
26   after applying the 43% lodestar multiplier that is imbedded across all aspects of State Lead
     Counsel’s fee application. See Supplemental Declaration of John T. Jasnoch in Support of
27   Award of Attorneys’ Fees, ¶42.
28                                                    8
                                  STATE LEAD COUNSEL’S RESPONSE TO
                              REQUEST FOR INFORMATION RE ATTORNEY’S FEES
                                        Case No. 3:16-cv-02627-WHA
     Case 3:16-cv-02627-WHA Document 399 Filed 09/12/18 Page 12 of 18



 1   No. 357), discovery in the State Action opened in the fall of 2016. In the spring of 2016, State

 2   Lead Counsel sought to commence merits depositions, but Defendants objected on the ground

 3   that it was inefficient to have the same witnesses (including the Individual Defendants) subjected

 4   to being deposed first in the State Action and then again later in the Federal Action, as all

 5   discovery was still stayed pursuant to the PSLRA.         At a case management and discovery

 6   conference and following briefing on the issue, the State Court (Weiner, J.) instructed State Lead

 7   Counsel not to seek to commence merits depositions until such time as the Federal Court had

 8   determined whether and to what extent the claims asserted by the Federal Plaintiff would

 9   proceed in the Federal Action, based on the State Court’s desire to avoid duplicative depositions

10   and to avoid subjecting the same witnesses to being deposed twice.

11          As a result, State Lead Counsel diligently reviewed the document production and turned

12   the work product created during the linear document review into more focused materials aimed

13   toward opposing summary judgment and proving the Class’s case at trial. Following the State

14   Court’s grant of certification of a broad 1933 Act class, Scott+Scott increased its second-level

15   discovery efforts. These second-level discovery tasks included, inter alia, the following types of

16   sub-projects:

17                  the compilation of hot document chronologies and issue binders for the separate
                     theories of misrepresentation and omission that had been sustained in the State
18                   Action;

19                  the compilation of memoranda and binders based on key custodians and potential
                     deponents;
20
                    the review of Defendants’ privilege log and issuing challenges to 800 entries on
21                   various grounds as outlined in a 25-page letter;

22                  the review of Defendants’ supplemental privilege log and preparing challenges
                     thereto;
23
                    performing targeted searches in the document review repository;
24
                    the preparation of additional discovery requests based on the evidence that initial
25                   discovery efforts had uncovered;

26                  meeting and conferring with LendingClub with regard to deposition notices issued
                     to LendingClub pursuant to Cal. Code Civ. P. §2520.230;
27

28                                                    9
                                  STATE LEAD COUNSEL’S RESPONSE TO
                              REQUEST FOR INFORMATION RE ATTORNEY’S FEES
                                        Case No. 3:16-cv-02627-WHA
     Case 3:16-cv-02627-WHA Document 399 Filed 09/12/18 Page 13 of 18



 1                 preparing witness outlines for the witnesses designated as “Persons Most
                    Qualified” to testify on the topics articulated in the §2520.230 deposition notice;
 2                  and

 3                 conferring among counsel regarding case and discovery strategy as well as the
                    strength of the evidence uncovered in discovery.
 4
            As noted in the Supplemental Declaration of John T. Jasnoch in Support of Award of
 5
     Attorneys’ Fees (ECF No. 362), State Lead Plaintiffs segregated all of its billing entries for over
 6
     two years of litigation into 25 discrete projects. While the subprojects in the bullets above could
 7
     have also been presented as separate litigation projects, State Lead Counsel submits that they felt
 8
     that the 25 projects struck an appropriate balance of categorizing their efforts on behalf of the
 9
     class for over two years. Scott+Scott in particular submits that their efforts and time spent in
10
     conducting the second-level discovery projects were necessary to adequately prepare for further
11
     proceedings, and the work product generated through these second-level discovery tasks inured
12
     to the settlement class’s benefit.
13
     V.     SCOTT+SCOTT SHALL JUSTIFY THE TIME SPENT ON THE WELLS FARGO
14          DEPOSITION, GIVEN THAT THEY DID NOT ATTEND THE DEPOSITION
            (PROJECT NO. 21)
15
            Scott+Scott spent approximately 19.1 hours in connection with the Wells Fargo
16
     deposition, which approximated $11,776 in lodestar.6 Although attorneys from Scott+Scott did
17
     not personally attend the Wells Fargo deposition, Scott+Scott performed significant work in
18
     connection with the preparation for the deposition.
19
            Prior to the deposition, Scott+Scott was involved in the meet and confer teleconferences
20
     and email correspondence on the scope of the topics that Wells Fargo would testify to.
21
     Scott+Scott also participated in the discussions concerning the mechanics and logistics of the
22
     dual federal and state deposition. In addition, Scott+Scott conducted significant review of the
23
     Wells Fargo underwriter documents, many of which were produced to State Lead Counsel in the
24
     days just prior to the deposition. Over 27,000 pages of documents were ultimately produced by
25

26   6
             Of this amount, State Lead Counsel effectively seek compensation for only $5,063.68,
     after applying the 43% lodestar multiplier that is imbedded across all aspects of State Lead
27   Counsel’s fee application. See Supplemental Declaration of John T. Jasnoch in Support of
     Award of Attorneys’ Fees, ¶42.
28                                                10
                                   STATE LEAD COUNSEL’S RESPONSE TO
                               REQUEST FOR INFORMATION RE ATTORNEY’S FEES
                                         Case No. 3:16-cv-02627-WHA
     Case 3:16-cv-02627-WHA Document 399 Filed 09/12/18 Page 14 of 18



 1   Wells Fargo, and, given the tight timeframe between this production and the deposition,

 2   Scott+Scott assisted in the document review and substantive preparation for the deposition in the

 3   week leading up to the deposition. Scott+Scott attorney John Jasnoch performed the review for

 4   Scott+Scott, and also prepared witness outlines and drafted potential questions to use at the

 5   deposition based on the review of the documents. This work product was then shared and

 6   discussed with the CPM attorneys that conducted the deposition. Thus, while Scott+Scott did

 7   not personally attend the deposition, the work performed by Scott+Scott was necessarily

 8   undertaken in connection with the Wells Fargo deposition.

 9   VI.    SCOTT+SCOTT SHALL JUSTIFY THE AMOUNT OF TIME SPENT ON THE
            SETTLEMENT AGREEMENT AND PLAN OF ALLOCATION (PROJECT NO.
10          24)

11          Scott+Scott attorneys spent approximately 275.8 hours in connection with the Settlement

12   Agreement and the Plan of Allocation, which approximated $215,962.50 in lodestar.7

13          Scott+Scott was the first law firm in the country to file any sort of class action lawsuit

14   alleging securities law violations by LendingClub and the other Defendants, prior to any

15   admission of wrongdoing by LendingClub and prior to the announcements of the DOJ or SEC

16   investigations. Then, after nearly two years of high-stakes litigation and once the mediator’s

17   proposal was accepted, Scott+Scott attorneys spent the time they felt was necessary to make sure

18   that the 1933 Act’s class was well represented at this critical litigation stage. Scott+Scott

19   attorneys pored over all of the draft “long form” settlement documents, which was comprised of

20   the stipulation of settlement, the proposed final judgment, the proposed preliminary approval

21   order, as well as the proposed class notice and summary notice to be issued to class members.

22   Scott+Scott attorneys provided substantive edits to each draft document, conferred with counsel

23   for all parties concerning the settlement documents and proposed edits thereto, and performed

24   other related tasks in order to effectively ensure that the 1933 Act class members were well

25

26   7
             Of this amount, State Lead Counsel effectively seek compensation for only $92,863.88,
     after applying the 43% lodestar multiplier that is imbedded across all aspects of State Lead
27   Counsel’s fee application. See Supplemental Declaration of John T. Jasnoch in Support of
     Award of Attorneys’ Fees, ¶42.
28                                                 11
                                 STATE LEAD COUNSEL’S RESPONSE TO
                             REQUEST FOR INFORMATION RE ATTORNEY’S FEES
                                       Case No. 3:16-cv-02627-WHA
     Case 3:16-cv-02627-WHA Document 399 Filed 09/12/18 Page 15 of 18



 1   represented in connection with the Settlement Agreement, an obligation they undertook on a

 2   fully contingent basis over two years prior.

 3          In addition, as noted above, given the potential collectability issues with obtaining a full

 4   judgment at trial, there was a very real risk of an intra-class conflict between LendingClub

 5   shareholders who had 1933 Act claims on the one hand, and LendingClub shareholders that had

 6   1934 Act claims on the other hand. With an eye toward these potential conflicts, upon all

 7   parties’ acceptance of the mediator’s proposal, Judge Spero directed the State and Federal Lead

 8   Counsel firms to immediately begin meeting and conferring on the allocation of settlement

 9   proceeds and the Plan of Allocation. To this end, it was imperative for State Lead Counsel to

10   spend as much time as necessary to ensure that LendingClub shareholders with 1933 Act claims

11   were treated fairly in the Plan of Allocation. Shortly after the acceptance of the mediator’s

12   proposal, State Lead Counsel, in consultation with Dr. Hakala, prepared a proposed allocation

13   plan and shared it with Federal Lead Counsel, copying Judge Spero. Thereafter, State Lead

14   Counsel reviewed allocation plans proposed by Federal Lead Counsel and considered them in

15   consultation with Dr. Hakala. Following additional written correspondence, State and Federal

16   Lead Counsel met in person in Judge Spero’s chambers, discussed the views of their respective

17   experts, and reached agreement on an allocation. As noted in Section II above, the final POA

18   provided for significant additional allocations to 1933 Act Claimants that permitted recoveries

19   based on price declines suffered before May 2016 price declines that were effectively at issue

20   only in the State Court Action, and also resulted in a fair allocation of the global settlement

21   proceeds to 1933 Act claimants vis-à-vis 1934 Act Claimants. State Lead Counsel’s work in this

22   regard work thereby provided direct, significant and concrete benefits to the 1933 Act Claimants

23   whose interests State Lead Counsel were appointed to diligently and faithfully represent under

24   the class certification orders of the State Court.

25          Scott+Scott was the State Lead Counsel firm that initially retained Dr. Hakala and was

26   the firm that worked most closely with Dr. Hakala in connection with his expert discovery work.

27   As a result, Scott+Scott took the lead in working closely with Dr. Hakala in connection with the

28                                                        12
                                   STATE LEAD COUNSEL’S RESPONSE TO
                               REQUEST FOR INFORMATION RE ATTORNEY’S FEES
                                         Case No. 3:16-cv-02627-WHA
     Case 3:16-cv-02627-WHA Document 399 Filed 09/12/18 Page 16 of 18



 1   allocation issues and in doing so spent considerable time in connection with formulating the Plan

 2   of Allocation.

 3                                            *       *       *

 4          In addition to the responses to the Court’s specific requests, above, State Lead Counsel

 5   further respectfully submit that although State Lead Counsel has accepted a steep discount on

 6   their fees (agreeing to 18% of any fee award), this discount should not be interpreted to minimize

 7   the benefits conferred on the Settlement Class by State Lead Counsel. Nor should such a

 8   discount minimize the efficiency or effectiveness of how State Lead Counsel litigated their

 9   action on behalf of the certified class and subclass in the State Court. Rather, the steep fee

10   discount accepted by State Lead Counsel reflected the reality of the risk faced by State Lead

11   Counsel that the United States Supreme Court would rule in the then-pending Cyan v. Beaver

12   County appeal that state courts do not have jurisdiction to hear cases brought pursuant to the

13   1933 Act. Were the Supreme Court to agree with the petitioners and rule that there was no

14   jurisdiction in the State Court to hear 1933 Act suits, it would have surely raised novel issues

15   regarding the extent to which work performed in connection with litigating a case in a forum that

16   was later deemed improper was compensable, notwithstanding the fact that the case had been the

17   first filed, was the first in which discovery was produced, and was the first to be certified as a

18   class action.

19          As set forth herein, the existence of the State Action increased the litigation pressure and

20   risk faced by Defendants. This is confirmed by the actions of LendingClub, which constantly

21   fought to litigate the securities law violation allegations against them solely in Federal Court.

22   LendingClub not only moved to stay the State Action in its entirety in favor of the Federal

23   Action, but also filed amicus curie briefs (briefs which were authored by counsel for the

24   Underwriter Defendants) with the United States Supreme Court, arguing in favor of the

25   petitioners in Cyan for the Supreme Court to rule that state courts do not have jurisdiction to hear

26   1933 Act claims.

27                                            *       *       *

28                                                   13
                                  STATE LEAD COUNSEL’S RESPONSE TO
                              REQUEST FOR INFORMATION RE ATTORNEY’S FEES
                                        Case No. 3:16-cv-02627-WHA
     Case 3:16-cv-02627-WHA Document 399 Filed 09/12/18 Page 17 of 18



 1             For the reasons set forth herein, and for the reasons set forth in their prior submissions,

 2   State Lead Counsel respectfully submits that Plaintiffs’ Counsel’s Motion for Attorney’s Fees be

 3   granted in full.

 4   Dated: September 12, 2018                     SCOTT+SCOTT, ATTORNEYS AT LAW, LLP
 5                                                  s/ John T. Jasnoch
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 7                                                  San Diego, California 92101
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 9                                                  SCOTT+SCOTT, ATTORNEYS AT LAW, LLP
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10                                                  WILLIAM C. FREDERICKS (pro hac vice)
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14

15                                                  COTCHETT, PITRE & MCCARTHY, LLP

16                                                   s/ Mark C. Molumphy
                                                    MARK C. MOLUMPHY (168009)
17                                                  TAMARAH PREVOST (313422)
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18
                                                    840 Malcolm Road, Suite 200
19                                                  Burlingame, CA 94010
                                                    Telephone: (650) 697-6000
20                                                  Facsimile: (650) 697-0577
21                                                  Co-Lead Counsel for Lead Plaintiffs
22

23                                             ATTESTATION

24             I, John T. Jasnoch, am the ECF User whose ID and password are being used to file this

25   State Lead Counsel’s Response to Request for Information Re Attorney’s Fees. In compliance

26   with Civil Local Rule 5-1(i)(3), I hereby attest that Mark C. Molumphy has concurred in this

27   filing.

28                                                     14
                                    STATE LEAD COUNSEL’S RESPONSE TO
                                REQUEST FOR INFORMATION RE ATTORNEY’S FEES
                                          Case No. 3:16-cv-02627-WHA
     Case 3:16-cv-02627-WHA Document 399 Filed 09/12/18 Page 18 of 18



 1                                    CERTIFICATE OF SERVICE

 2
            I hereby certify that on September 12, 2018, a copy of the foregoing was filed
 3
     electronically and served by mail on anyone unable to accept electronic filing. Notice of this
 4

 5   filing will be sent by email to all parties by operation of the Court’s electronic filing system or by

 6   mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing.

 7   Parties may access this filing through the Court’s CM/ECF System.
 8
                                                     s/ John T. Jasnoch
 9
                                                    JOHN T. JASNOCH
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                                  STATE LEAD COUNSEL’S RESPONSE TO
                              REQUEST FOR INFORMATION RE ATTORNEY’S FEES
                                        Case No. 3:16-cv-02627-WHA
